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                         UNITED STATES DISTRICT COURT

                          DISTRICT OF SOUTH DAKOTA

                                 WESTERN DIVISION


 UNITED STATES OF AMERICA,                                5:23-50079-KES

                    Plaintiff,
                                                ORDER ADOPTING REPORT &
       vs.                                      RECOMMENDATION DENYING
                                                   MOTION TO SUPPRESS
 CHRISTIAN LORENZO WITT,

                    Defendant.


      Defendant, Christian Witt, is charged with one count of possession of a

firearm by a prohibited person in violation of 18 U.S.C. §§ 922(g)(1) and

924(a)(8). Docket 1. Witt moves to suppress evidence seized during the traffic

stop of his vehicle. Docket 35 at 1. He contends that the seizure of his vehicle

was conducted without reasonable suspicion or probable cause. Id. Thus, Witt

asserts that his Fourth Amendment rights were violated and that all evidence

yielded from the subsequent search of his vehicle must be suppressed as fruit

of the poisonous tree. Id.

      The court referred Witt’s motion to Magistrate Judge Daneta Wollmann

under 28 U.S.C. § 636(b)(1)(B). After holding an evidentiary hearing, Magistrate

Judge Wollmann recommended denying Witt’s motion to suppress. Dockets 43,

49. Witt objects to the Report and Recommendation. Docket 53. After a de novo

review of the Report and Recommendation and the record, the court adopts the

Report and Recommendation in full and denies Witt’s motion to suppress.
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                              LEGAL STANDARD

      This court’s review of a magistrate judge’s report and recommendation is

governed by 28 U.S.C. § 636 and Rule 59 of the Federal Rules of Criminal

Procedure. The court reviews de novo any objections to the magistrate judge’s

recommendations with respect to dispositive matters that are timely made and

specific. 28 U.S.C. § 636(b)(1); Fed. R. Crim. P. 59(b). Because motions to

suppress evidence are considered dispositive matters, a magistrate judge’s

recommendation regarding such a motion is subject to de novo review. 28

U.S.C. § 636(b)(1); see also United States v. Raddatz, 447 U.S. 667, 673 (1980).

In conducting a de novo review, this court may then “accept, reject, or modify,

in whole or in part, the findings or recommendations made by the magistrate

judge.” 28 U.S.C. § 636(b)(1); see also United States v. Craft, 30 F.3d 1044,

1045 (8th Cir. 1994).

                           FACTUAL BACKGROUND

      After a de novo review, the court makes the following pertinent factual

findings necessary to resolve this dispute:

      At approximately 7:44 pm on March 18, 2023, Rapid City Police

Department Detective Brandon Johnson was patrolling near the Surfwood

Apartments in Rapid City, South Dakota. See Docket 46 at 2–3; Docket 51 at

12; Ex. 2 at 01:43:47. Detective Johnson noticed Witt’s vehicle, a red 2005

Chevy Impala, back out of a parking spot in the parking lot of 120 Surfwood

Drive and proceed onto Surfwood Drive headed westbound. Docket 46 at 3; see

Docket 51 at 17–18. Detective Johnson pulled into the parking lot of 120

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Surfwood Drive and conducted a U-Turn to face the street. See Docket 46 at 3;

Docket 51 at 23; Ex. 2 at 01:43:54. At this point, Detective Johnson observed

Witt turn back into the parking lot. See Docket 46 at 3; Docket 51 at 24.

      Detective Johnson testified that as Witt pulled back into the parking lot

and passed his patrol vehicle, he observed a “pretty big” spiderweb crack that

“looked like it obstructed the view of the driver.” Docket 51 at 25; see also

Docket 46 at 3. During the evidentiary hearing, Detective Johnson testified as

to his understanding of when a windshield crack violates South Dakota law.

See Docket 51 at 25–27, 64. Detective Johnson testified that he believed that

the windshield crack “obstructed the view of the driver” and “impede[d] his

vision.” Id. at 25, 64. Detective Johnson turned around again to pull Witt over

and activated his patrol lights. Id. at 29; Docket 46 at 3; see Ex. 2 at 01:44:15.

      Detective Johnson got out of his car and walked up to the Impala. Docket

51 at 34–35. He told Witt that he was being pulled over due to his cracked

windshield. See Ex. 3 at 19:44:27. During the brief conversation that followed,

Witt stated that he had outstanding warrants for his arrest. Id. at 19:44:48.

Detective Johnson called dispatch and confirmed the existence of the warrants.

See Docket 46 at 3; Ex. 3 at 19:47:00. Witt was arrested and his car was

searched during a vehicle inventory. See Docket 46 at 3; Ex. 3 at 19:47:32.

That search revealed a firearm, which is the evidence that Witt moves to

suppress. See Docket 46 at 3; Ex. 4 at 19:56:10.




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                                   DISCUSSION

      The Fourth Amendment of the United States Constitution forbids

“unreasonable searches and seizures.” U.S. Const. amend. IV. “With some

exceptions, both the primary evidence obtained as a direct result of an illegal

search or seizure and . . . evidence later discovered and found to be derivative

of an illegality, the so-called ‘fruit of the poisonous tree,’ is inadmissible under

the exclusionary rule.” United States v. Lillich, 6 F.4th 869, 875 (8th Cir. 2021)

(internal quotation marks omitted) (omission in original) (quoting Utah v.

Strieff, 579 U.S. 232, 237 (2016)).

      “A traffic stop for a suspected violation of law is a ‘seizure’ of the

occupants of the vehicle and therefore must be conducted in accordance with

the Fourth Amendment.” Heien v. North Carolina, 574 U.S. 54, 60 (2014) (citing

Brendlin v. California, 551 U.S. 249, 255–59 (2007)). A law enforcement officer

may conduct an investigatory stop when the officer has “a particularized and

objective basis for suspecting the particular person stopped of criminal

activity.” See Navarette v. California, 572 U.S. 393, 396 (2014) (quoting United

States v. Cortez, 449 U.S. 411, 417–18 (1981)). Courts “must look at the

‘totality of the circumstances’ of each case to see whether the detaining officer

has a ‘particularized and objective basis’ for suspecting legal wrongdoing.”

United States v. Arvizu, 534 U.S. 266, 273 (2002).

      “A traffic violation, no matter how minor, gives probable cause for a

traffic stop.” Wood v. Wooten, 986 F.3d 1079, 1081 (8th Cir. 2021). The

existence of probable cause to stop a vehicle stemming from a traffic violation

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does not “depend[] on the actual motivations of the individual officers involved,”

so long as some traffic law was violated. Whren v. United States, 517 U.S. 806,

813 (1996).

      Witt raises a single legal objection to Magistrate Judge Wollmann’s report

and recommendation. See Docket 53 at 3. He challenges the finding that

reasonable suspicion or probable cause existed to stop Witt’s vehicle and

argues that Detective Johnson “made a mistake of law as to the correct legal

standard for a traffic stop under SDCL § 32-15-2.3[,]” the South Dakota statute

prohibiting certain windshield defects. Id. at 4.

      “[I]f an officer makes a traffic stop based on a mistake of law, the legal

determination of whether probable cause or reasonable suspicion existed for

the stop is judged by whether the mistake of law was an ‘objectively reasonable

one.’ ” United States v. Washington, 455 F.3d 824, 827 (8th Cir. 2006) (quoting

United States v. Smart, 393 F.3d 767, 770 (8th Cir. 2005)). Thus, in order to

address Witt’s objection, the court must determine first, whether Detective

Johnson made a mistake of law; and if so, whether the mistake was objectively

reasonable. See Washington, 455 F.3d at 827.

I.    Whether Detective Johnson made a mistake of law

      South Dakota law requires that on a motor vehicle windshield, “[n]o glass

or glazing material may be cracked, broken, shattered, or distorted to the

extent that it significantly impairs the vision of the motor vehicle operator.”

SDCL § 32-15-2.3. Witt argues that Detective Johnson initiated the traffic stop

based on the erroneous belief that the law prohibits deformities that impair the

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driver’s view, without it being a significant impairment, and that this error

constitutes a mistake of law requiring reversal of Magistrate Judge Wollmann’s

report and recommendation and suppression of the firearm. See Docket 53 at

6–7.

       During the evidentiary hearing, Detective Johnson testified in the

following exchange about his understanding of the legal standard required to

stop a vehicle for a cracked windshield, and his observations of Witt’s

windshield:

       Q: So when did you first notice Mr. Witt had something wrong with
       his vehicle?
       A: As he pulled into the parking lot and passed by me, I was able to
       see that front windshield had like a spiderweb crack.
       Q: And again your head is on a swivel so you’re seeing things that
       the camera may not see?
       A: Yes.
       Q: As you - - as you notice that, what was concerning about that
       windshield?
       A: It was a pretty big crack that, from my point of view, looked like
       it obstructed the view of the driver.
       Q: And just in your – in your practice and what is the practice of the
       Rapid City Police Department, does every single windshield crack
       cause you to pull a car over?
       A: No, it just depends on the size of the crack.
       Q: Okay. Size of the crack, anything about location?
       A: Just if it’s somewhere that will impair the driver’s view.
       Q: And that includes directly in front of the driver?
       A: Yes.
       Q: And how about off to the side, does - - can a driver’s vision be
       impaired by damage to the passenger’s side?
       A: Yes, I believe so.

Docket 51 at 25–26. Detective Johnson testified further about the size of the

crack several questions later:

       Q: And in your view with what you saw, could that damage to the
       passenger window have actually - - or passenger side front window


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      have obstructed the view potentially of a pedestrian coming from
      that area?
      A: Potentially, due to the size of the crack.

Id. at 26. On cross examination, when asked whether he observed Witt’s

windshield and determined the crack “significantly impaired” the driver’s

vision, Detective Johnson replied that “it looked like it was enough to impede

his vision.” Id. at 64. In his police report, Detective Johnson wrote that the

crack “spider webbed in multiple directions and obstructed the view of the

driver.” Docket 46 at 3.

      One court in the District of South Dakota previously considered whether

an officer made a mistake of law in relation to SDCL § 32-15-2.3. It found that

the windshield statute does require that the defect “significantly impair” the

view of the driver, and that an officer made a mistake of law where he believed

that SDCL § 32-15-2.3 prohibited driving with a “singular, lengthy crack” that

“was not tree-like or spiderwebbed.” United States v. Hernandez, No. 1:22-CR-

10016-CBK, 2022 WL 15303651 at *2, *5–6 (D.S.D. Oct. 22, 2022), report and

recommendation adopted, No. 1:22-CR-10016-CBK, 2022 WL 16508981 (D.S.D.

Oct. 27, 2022). In that case, the arresting officer did not testify on direct

examination or write in his report that the crack was anything more than a

simple impairment, which contributed to the court’s finding that a mistake of

law was made. See id. at *6.

      Hernandez is distinguishable from Witt’s circumstances because in

Hernandez, the officer’s testimony did not otherwise show that he was

assessing the windshield for deformities that in practice violate SDCL § 32-15-

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2.3. See Hernandez, 2022 WL 15303651, at *6. Despite Detective Johnson’s

omission of the term “significant,” his testimony shows that he understood the

kind of obstruction SDCL § 32-15-2.3 prohibits. He described the crack as

large and said that it “spiderwebbed” across the windshield. See Docket 46 at

3; Docket 51 at 25-26. This description is consistent with video and

photographs of the windshield that show the extent and severity of the crack.

See Docket 46 at 7; Ex. 3 at 19:52:30. When asked why he believed that the

crack violated the statute, Detective Johnson said that “it was a pretty big

crack” that “looked like it obstructed the view of the driver.” Docket 51 at 25.

Thus, by providing context as to why he found the crack concerning, Detective

Johnson in effect described a significant impairment even though he does not

directly quote the statute. This is unlike the circumstances of Hernandez, in

which the crack at issue was a single line, and thus unlikely to “significantly”

obstruct the drivers view. See Hernandez, 2022 WL 15303651, at *6. If the

officer in Hernandez had considered the features described by Detective

Johnson, he would likely have found that the single-line crack did not violate

the statute. In other words, the Hernandez officer’s failure to explicitly state

that the single-line crack was more than a simple impairment reflected the fact

that it was only a simple impairment, and not a significant one. This was not

the case with Detective Johnson’s testimony, which, despite failing to cite the

statute expressly, did not reveal a mistaken interpretation of the statute.

      The facts at hand are also unlike the varied circumstances in which

courts have found an officer made a mistake of law. See, e.g., Heien v. North

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Carolia, 574 U.S. 54, 57 (2014) (officer mistakenly believed that statute

requiring functioning brake lights mandated that both brake lights be

operational, where a single working light was sufficient); United States v.

Forjan, 66 F.4th 739, 746–47 (8th Cir. 2023) (officer mistakenly believed that

defendant’s license plate sticker revealed an expired registration); Washington,

455 F.3d at 826–27 (officer mistakenly believed that a cracked windshield

violated a Nebraska windshield obstruction statute where the statute only

barred obstructing objects). These cases differ from the circumstances before

the court because the conduct of those drivers did not violate the statutes at

issue. For example, in Heien, the single functioning brake light did not violate

the underlying statute, which only required one working light. See Heien, 574

U.S. at 57. And in Washington, the driver’s cracked windshield did not violate

any applicable traffic law. See Washington, 455 F.3d at 826–27. But here, the

condition of the Impala’s windshield did violate SDCL § 32-15-2.3. The

spiraling crack extended to most of the windshield surface and was “a

significant visual impairment for the driver[,]” thus falling under the subset of

defects contemplated by the statute. Hernandez, 2022 WL 15303651, at *5; see

Ex. 104.

      Despite his failure to state that the driver’s vision was significantly

impaired during the suppression hearing and in his reports, Detective Johnson

nonetheless correctly applied SDCL § 32-15-2.3. Detective Johnson’s testimony

showed that he was aware of the level of obstruction required to violate the

statute. His testimony is corroborated by photos and videos showing the crack

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 far exceeds the deformation at issue in Hernandez. Thus, the court does not

 find that Detective Johnson made a mistake of law in stopping Witt’s vehicle.

 II.   Whether any mistake of law by police was objectively reasonable

       Where the court finds an officer made a mistake of law, the court must

 go on to assess the objective reasonability of the officer’s belief. See

 Washington, 455 F.3d at 827. But Detective Johnson did not make a mistake of

 law, the court does not continue to the second step in the analysis. Thus,

 Witt’s objection to Magistrate Judge Wollmann’s Report and Recommendation

 is overruled.

                                    CONCLUSION

       Because there is no constitutional violation, the court does not suppress

 the evidence gathered as a result of the traffic stop and subsequent search of

 Witt’s vehicle. The court adopts Magistrate Judge Wollmann’s recommendation

 in full and denies Witt’s motion to suppress. Thus, it is

       ORDERED that the Report and Recommendation (Docket 49) denying

 Witt’s motion to suppress is adopted. The motion to suppress (Docket 35) is

 denied.

       Dated April 25, 2024.

                                        BY THE COURT:



                                        /s/ Karen E. Schreier
                                        KAREN E. SCHREIER
                                        UNITED STATES DISTRICT JUDGE




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